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                       UNITED STATES DISTRICT COURT

                             DISTRICT OF COLUMBIA



  THE UNITED STATES OF                          Case No. 1:21-CR-00392-RCL
  AMERICA,
                                                REPLY IN SUPPORT OF MOTION
               Plaintiff,                       TO MODIFY RELEASE
        vs.                                     CONDITIONS
                                                JUDGE: ROYCE C. LAMBERTH
  RUSSELL TAYLOR,
               Defendants.




                                        REPLY

Mr. Taylor wishes the Court to know that he agrees the Government has correctly,
fairly, and properly informed the Court that an overseas shipment of “two knives and
2 axes w/sheaths” was to be sent to Mr. Taylor. However, the circumstance of this
shipment warrants explanation. At the outset, Mr. Taylor reports that the actual
package was not delivered to Mr. Taylor as the shipment was cancelled by Mr.
Taylor. This event, while accurately reported to the Court, does not reflect the totality
of the situation. Important facts for the Court to know:



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      1. Mr. Taylor works for a business that organizes road rallies, which hold
          amateur competitive events for owners of four-wheeled vehicles. The event
          tasks a driver and navigator to set their own course to interactive
          checkpoints and a finish line, in an on-road/off-road rally mixed with a
          scavenger hunt in wildernesses type environments.
      2. The items at issue were meant as prizes for the business to give to the
          winners of the event. The items at issue are rationally related to the event of
          outdoor activities and four-wheeling. The event is partially sponsored by the
          organization which sells the items at issue.
      3. Mr. Taylor never had any intention to own or keep these items. They were
          strictly and only to be given to people, other than Taylor, at the pending
          events.
      4. Because Mr. Taylor currently works from his home, the items were sent to
          his home address. Because of the Courts Order and Mr. Taylor’s desire to
          comply, the shipment was cancelled, and the items never reached Mr.
          Taylor.
      5. Mr. Taylor never took possession of any weapons. The cancelled shipment
          never arrived nor reached Mr. Taylor. Accordingly, Mr. Taylor was not in
          possession, even momentarily, of said items.

While the Government’s response is a true and fair representation of what occurred,
the circumstances of the matter do not accurately report what transpired nor the
purpose behind the reported shipment. Mr. Taylor was never to be the owner nor
keeper of the items, they were business related, meant for others, part of a rationally
related event, and items that were sponsor related.

In this case, a correctly, fairly, and accurately reported event does not reflect the
underlying reality of what took place. Mr. Taylor reports he is still in compliance


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with all terms and conditions, has not possessed any “knives or axes” and this
misunderstanding should not affect his request.

Mr. Taylor requests the Court grant his request or in the alternative allow the parties
to address the issue at the next hearing currently set.




Dated: June 23, 2022                           LAW OFFICE OF DYKE E. HUISH


                                               /s/Dyke E. Huish
                                               Attorney for Russell Taylor




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